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                                             DOC #:
UNITED STATES DISTRICT COURT
                                             DATE FILED: 11/2/2020
SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                                       :
                                                                :         19-CR-808 (VEC)
                -against-                                       :
                                                                :             ORDER
 SALIFOU CONDE                                                  :
                                                                :
                                                                :
                                          Defendant             :
 ------------------------------------------------------------   X
VALERIE CAPRONI, United States District Judge:

        WHEREAS on October 22, 2020 Mr. Mullin filed a motion to withdraw as Mr. Conde’s

attorney;

        IT IS HEREBY ORDERED that: The parties must appear for a video conference on

November 5, 2020 at 10:00 a.m. Links to appear via video will be sent directly to Mr. Mullin,

for him and Mr. Conde, and to the AUSA.



SO ORDERED.
                                                                _________________________________
Date: November 2, 2020                                                VALERIE CAPRONI
      New York, NY                                                  United States District Judge
